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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION



ROTHSCHILD BROADCAST DISTRIBUTION                            CASE NO. 6:15-CV-231-RWS-JDL
SYSTEMS, LLC,

                 Plaintiff,
                                                             JURY TRIAL DEMANDED
          v.

VBrick Systems Inc.,

                 Defendant.




      .                                           ORDER

          Came for consideration before the Court is the Stipulation of Dismissal with Prejudice of

Defendant VBrick Systems Inc., pursuant to Federal Rule of Civil Procedure 41(a), filed by

Plaintiff Rothschild Broadcast Distribution Systems, LLC. Upon consideration of the same, the

Court is of the opinion that the Dismissal of Defendant VBrick Systems Inc., with prejudice

should be GRANTED.

           It is further ORDERED that each party bears its own attorneys' fees and costs.

           SIGNED this 8th day of May, 2015.




                                                              ____________________________________
                                                              ROBERT W. SCHROEDER III
                                                              UNITED STATES DISTRICT JUDGE
